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               Exhibit 8
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From:                Kathryn Guyton
To:                  Rusyn, Ivan; Martin, Matt; Ross, Matthew; frank lecurieux; Lauren Zeise; Zeise, Lauren@OEHHA
Cc:                  Lamia Tallaa; Fatiha El Ghissassi
Subject:             IARC Monograph vol 112 telecon #3
Date:                Wednesday, November 19, 2014 10:38:53 AM
Attachments:         112-Overview_of_assignments-18112014-2[1].docx


Dear all,

We look forward to our teleconference tomorrow at 4-5 pm Lyon local time! We will review the writing assignments now available on iops.iarc.fr (see below; login required, let me know if
you need your password reset). See also the attached overview (available under Additional Files).

Meeting link here: https://global.gotomeeting.com/join/212985189.
Agenda:

1. Deadlines: all drafts due 13 Jan 2015. Please submit as they are ready via iops.iarc.fr. You will then assigned peer reviews of each other’s drafts. If it may help those new to the
Monographs process, we can arrange early feedback if you all want to start on one monograph (e.g., tetrachlorvinphos) before you tackle the others?

2. Sources for the writing, to include:
· References that you all (thank you!) have tagged as “included” for each section on HAWCproject.org
· Articles from our archives, i.e. all references cited in the prior tetrachlorvinphos, malathion, and parathion IARC evaluations:
        o those with a PMID have been imported into HAWC
        o for those without a PMID, lists are available on the FTP site
· US EPA documents (lists available on the FTP site). These are available in PDF on the FTP site; see also http://www.epa.gov/pesticides/foia/reviews.htm. As Matt Martin can better explain,
    the raw data are included in the ToxRefDB database: http://www.epa.gov/ncct/toxrefdb/. Note that these prior US EPA (as for any prior IARC evaluations) may have used different
    evaluation criteria than is outlined in the Preamble. Thus you should re-review the data provided therein, and use your own judgment with guidance from the IARC Monograph preamble
    in reaching any conclusions.
· Tox21 data: Matt Martin and Ivan (thank you!) will be extracting these data, and drafting summaries for the Section 4.3s.

3. The FTP site, which is being populated with PDF copies of all articles tagged on HAWCproject.org for inclusion, listed alphabetically, as well as any articles from our archives; Section 4
articles are keyworded. You will also find a RefMan database (also in RIS format, for importing to Endnote) that will be updated weekly.

4. Don’t hesitate to request any additional PDFs. These may be identified as you begin your review of the literature (e.g., from the reference lists of interesting papers). If you want to run
additional literature searches (e.g., for an author, endpoint, assay, etc), you may do so via HAWCproject.org; tag any new literature with "new for Sandrine" (or send me a list of PMIDs).

5. Summary sections (4.6). I’ll let Ivan weigh in on how he’d like to proceed.

6. Don’t hesitate with any questions!

Best,
Kate (for all of us at the IARC Monographs!)
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